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               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                   Case No. 3:25cr59-MCR

JOHN J SCHUGMANN
                                       /

                    REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count One of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined the guilty plea was knowing and voluntary and

the offense charged is supported by an independent basis in fact containing each of

the essential elements thereof.    I therefore recommend the plea of guilty be

accepted and the Defendant be adjudicated guilty and have sentence imposed

accordingly.

      Dated: May 28, 2025.

                               /s/ Zachary C. Bolitho
                               ZACHARY C. BOLITHO
                               UNITED STATES MAGISTRATE JUDGE
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                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within twenty-four (24) hours of the date of the Report and
Recommendation. Any different deadline that may appear on the electronic
docket is for the court’s internal use only and does not control. An objecting
party must serve a copy of the objections on all other parties. A party who
fails to object to the magistrate judge’s findings or recommendations contained
in a report and recommendation waives the right to challenge on appeal the
district court’s order based on unobjected-to factual and legal conclusions.
See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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